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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION
                                     www.flmb.uscourts.gov

IN RE:                                             Case No. 8:18-bk-06457-CPM
John Scott Black                                   Chapter 7

         Debtor.                               /

                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                     (RE: 7741 STILL LAKES DRIVE, ODESSA, FL 33556)

            NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
       Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
paper without further notice or hearing unless a party in interest files a response within
twenty-one (21) days from the date set forth on the attached proof of service, plus an
additional three days for service if any party was served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of
the Court at Sam M. Gibbons United States Courthouse, 801 N. Florida Avenue, Suite 555,
Tampa, FL 33602, and serve a copy on the movant's attorney, Lindsey Savastano, c/o
SHAPIRO, FISHMAN & GACHÉ, 2424 NORTH FEDERAL HIGHWAY, SUITE 360,
BOCA RATON, FLORIDA 33431, and any other appropriate person's within the time
allowed. If you file and serve a response within the time permitted, the Court will either
schedule and notify you of a hearing, or consider the response and grant or deny the relief
requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do
not oppose the relief requested in the paper, will proceed to consider the paper without
further notice or hearing, and may grant the relief requested.

        COMES NOW, Secured Creditor, U.S. Bank National Association, as Trustee for Citigroup
Mortgage Loan Trust Inc., Mortgage Pass-Through Certificates, Series 2006-AR2, by and through
its undersigned attorneys, moves the Court for an Order Granting Relief from the Automatic Stay
pursuant to 11 USC 362(d)(1) and 11 USC 362(d)(2)(A) and in support thereof would show:
        1.         This is a Motion pursuant to Bankruptcy Rule 4001(a) for Relief from the
automatic stay provisions of Section 362(a) of the Bankruptcy Code.
        2.         Debtor filed this case on August 2, 2018.




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        3.         Debtor executed a promissory Note secured by a Mortgage. The promissory Note
is either made payable to Secured Creditor or has been duly indorsed. Secured Creditor, directly
or through an agent, has possession of the promissory Note. Secured Creditor is the original
mortgagee or beneficiary or the assignee of the mortgage
        4.         U.S. Bank National Association, as Trustee for Citigroup Mortgage Loan Trust Inc.,
Mortgage Pass-Through Certificates, Series 2006-AR2, is a secured creditor by virtue of a
promissory Note, Mortgage, and Assignment of Mortgage on real property, which are attached to
this Motion as Exhibit “A”. Said real property has the following legal description:
        LOT 42, STILLWATER- PHASE 2, ACCORDING TO THE PLAT THEREOF,
        RECORDED IN PLAT BOOK 85, PAGE 13, OF THE PUBLIC RECORDS OF
        HILLSBOROUGH COUNTY, FLORIDA.

        The common address is: 7741 Still Lakes Drive, Odessa, FL 33556 (the “Property”).

        5.         The payments due pursuant to the aforementioned Note and Mortgage have been
in default, and remain in default, since March 1, 2017.
        6.         The approximate value of debt due is $1,082,085.49 as of August 22, 2018.
        7.         Debtor has failed to adequately protect the interest of Secured Creditor, U.S. Bank
National Association, as Trustee for Citigroup Mortgage Loan Trust Inc., Mortgage Pass-Through
Certificates, Series 2006-AR2.
        8.         The Hillsborough County Property Appraiser's website for the Property reflects a
market value of $842,504.00. A copy is attached as Exhibit “B”.
        9.         There is no equity in the Property.
        10.        Secured Creditor, U.S. Bank National Association, as Trustee for Citigroup
Mortgage Loan Trust Inc., Mortgage Pass-Through Certificates, Series 2006-AR2, is prohibited
from proceeding with foreclosure in the State Court because of the pendency of this bankruptcy
action, and that in the absence of the Court's Order allowing Secured Creditor to proceed with
the foreclosure action the Property will be significantly jeopardized.
        11.        Once the stay is terminated, Debtor will have minimal incentive to insure,
preserve, or protect the Property; therefore, Secured Creditor, U.S. Bank National Association, as
Trustee for Citigroup Mortgage Loan Trust Inc., Mortgage Pass-Through Certificates, Series 2006-
AR2, requests that the Court waive the 14-day stay period imposed by Fed.R.Bankr.P.
4001(a)(3).


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        12.        Pursuant to M.D. Fla. L.B.R. 9004-2(f) the estimated time required for hearing is
five (5) minutes.
        WHEREFORE, Secured Creditor, U.S. Bank National Association, as Trustee for Citigroup
Mortgage Loan Trust Inc., Mortgage Pass-Through Certificates, Series 2006-AR2, moves this
Honorable Court for an Order granting relief from the automatic stay and waiver of the 14-day
stay imposed by Fed.R.Bankr.P. 4001(a)(3).
                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been sent via CM/ECF
electronic filing or via first class U.S. Mail to the following on this 4th day of September, 2018.

John Scott Black, 7741 Still Lakes Drive, Odessa, FL 33556
Robert M Geller, 807 West Azeele Street, Tampa, FL 33606
Christine L. Herendeen, Post Office Box 152348, Tampa, FL 33684
United States Trustee, 501 E. Polk Street, Suite 1200, Tampa, FL 33602

                                                /s/ Lindsey Savastano
                                                Lindsey Savastano
                                                FL Bar # 57079
                                                Shapiro, Fishman & Gaché, LLP
                                                Attorney for Secured Creditor
                                                2424 North Federal Highway
                                                Suite 360
                                                Boca Raton, Florida 33431
                                                Telephone: 561-542-7621
                                                Fax: (561) 998-6707
                                                E-mail: Lsavastano@LOGS.com




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                         EXHIBIT A
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(http://www.hcpafl.org)


Pa rc el R es u l t
Fo l i o : 00 0 88 7- 5 23 8
   Print Friendly Page      TRIM   VAB PRC   Tax Collector   Map Image    Map View   Email Parcel
Report Issues with Parcel
PROPERTY RECORD CARD




BLACK JOHN S
BLACK ANGELA M
Mailing Address
7741 STILL LAKES DR
ODESSA, FL 33556-2262
Site Address
7741 STILL LAKES DR, ODESSA
PIN:              U-11-27-17-00K-000000-00042.0
Folio:            000887-5238
Prior PIN:
Prior Folio:      000705-0000
Tax District:     U UNINCORPORATED
Property Use:     0100 SINGLE FAMILY R



                                             EXHIBIT B
http://gis.hcpafl.org/propertysearch/                                                      8/23/2018
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Plat Book / Page: 85 / 13
Neighborhood:     211009.00 | Stillwater Area
Subdivision:      00K | STILLWATER PHASE 2
Value Summary GIS Map
Value Summary
Taxing District Market Value Assessed Value Exemptions Taxable Value
County          $842,504    $807,251            $50,000   $757,251
Public Schools $842,504     $807,251            $25,000   $782,251
Municipal       $842,504    $807,251            $50,000   $757,251
Other Districts $842,504    $807,251            $50,000   $757,251

Note: This section shows Market Value, Assessed Value, Exemptions, and Taxable Value for taxing districts.
Because of changes in Florida Law, it is possible to have different assessed and taxable values on the same
property. For example, the additional $25,000 Homestead Exemption and the non-homestead CAP do not apply
to public schools, and the Low Income Senior Exemption only applies to countywide and certain municipal
millages.




                                                                                             Map It!




Sales History



                                                  EXHIBIT B
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Off. Record         Date
                            Type Inst Qualified or Unqualified Vacant or Improved Sale Price
 Book Page Month Year
15964 0077 12         2005 WD            Qualified           Improved           $1,598,900
8384 1361 12          1996 WD            Unqualified         Vacant             $1,972,500


Building 1




FGR( L23 D34 BAS( D10 L1 D6 L13 D5 FOP( L34 D18 R22 U8 E5N5 R7 U5) D5 L7 W5S5 D8 L22 U18 L12 U8 L
17 D31 R5 D7 R10 D5 R17 FOP( D7 R14 D3 R6 U3 L6 U7 L14) R14 D7 R6 D3 R2 D4 R16 U14 TWO( R14 U17
L24 D17 R10) L10 U17 R24 D17 L14 D5 R17 U9 R12 U1 R6 U36 L6 U15 L22) R23 U34).
Building Characteristics
Type:        09 | EXCEPTIONAL RES
Year Built: 2005


Construction Details
     Element         Code           Construction Detail
Class                C      Masonry Or Concrete Frame
Exterior Wall        9      Stone
Exterior Wall        7      Masonry Frm: Stucco
Roof Structure       3      Gable Or Hip
Roof Cover           8      Slate
Interior Walls       5      Drywall
Interior Flooring    7      Tile
Interior Flooring    8      Carpet
Heat/Ac              2      Central
Architectural Style 10      Contemporary Multi-Story
Condition            3      Average
Bedrooms             4.0



                                                       EXHIBIT B
http://gis.hcpafl.org/propertysearch/                                                              8/23/2018
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        Element       Code          Construction Detail
Bathrooms             4.0
Stories               2.0
Units                 1.0


Building Sub Areas
Area Type Gross Area Heated Area Depreciated Value
FGR          782            0             $52,136
BAS          3,692          3,692         $492,295
FOP          469            0             $15,601
FOP          116            0             $3,867
TWO          816            816           $103,339
  Totals          5,875         4,508           $667,239
Extra Features
LN OB/XF Code             Description      Bld Year on Roll Length Width Units Value
1 0389              SPA 09                 1    2006         0     0    1.00 $9,600
2 0355              POOL 09 NO ENCL 1           2006         0     0    1.00 $36,305


Land Lines
LN Use Code          Description        Zone Front Depth           Unit Type           Total Land Units Land Value
1 REB3            Res SF Class 2.75 PD         224 210     SE | SF LOTS W/ EFF SIZE 47,040.00         $129,360.00


Legal Lines
LN           Legal Description
1 STILLWATER PHASE 2 LOT 42




Please note that property values on this site are continually being updated and are a work in progress throughout
the year. The final values are certified in October of each year.

Last Updated: 8/22/2018


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                                                       EXHIBIT B
http://gis.hcpafl.org/propertysearch/                                                                      8/23/2018
